
PER CURIAM
D.J.Y. appeals from the "Second Amended Order, Judgment, and Decree" designating the residence of W.J.H. as the address for medical, mailing, and educational purposes for W.C.H. ("Child") and finding it was in Child's best interest for the Hillsboro R-3 School District to be the school district for educational purposes. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential or precedential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the Judgment pursuant to Rule 84.16(b).
